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 9                               UNITED STATES DISTRICT COURT
10                                         DISTRICT OF NEVADA
11
      KATHRYN MAYORGA,                                     CASE NO.:       2:19-cv-00168-JAD-DJA
12
                              Plaintiff,
13
      v.                                                       DEFENDANT’S COMBINED
14                                                            OPPOSITION TO PLAINTIFF’S
      CRISTIANO RONALDO,                                     MOTION TO EXTEND TIME TO
15                                                            RESPOND TO DEFENDANT’S
                              Defendant.                      MOTION FOR TERMINATING
16                                                          SANCTIONS AND TO PLAINTIFF’S
                                                             MOTION TO EXTEND TIME TO
17                                                            RESPOND TO DEFENDANT’S
                                                                  MOTION TO SEAL
18
            Pursuant to FRCP 6(b), Defendant Cristiano Ronaldo opposes Plaintiff’s Motion to
19
     Extend Time to Respond to Defendant’s Motion for Terminating Sanctions [ECF No. 119] and
20
     Plaintiff’s Motion to Extend Time to Respond to Defendant’s Motion to Seal [ECF No. 118].
21
     First, Plaintiff has failed to establish good cause for her request that she be afforded nearly eight
22
     weeks to oppose two motions for which the Federal Rules of Civil Procedure generally provide a
23
     two-week response time. Although a meet and confer is not technically required prior to the filing
24
     of a motion to extend time, Defendant’s counsel specifically suggested the parties confer to
25
     discuss a more reasonable extension in an attempt to avoid having to seek court intervention.
26
     That request was ignored and instead, Plaintiff filed the instant motions to extend time. ECF Nos.
27
     118 and 119; Exhibit 2 to ECF No. 119. Plaintiff has repeatedly failed to meet deadlines and time
28
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 1   and again, ignored this Court’s admonitions to meaningfully confer with Defense counsel in order
 2   to avoid unnecessary motion practice. Defense Counsel certainly appreciates the scheduling
 3   challenges associated with maintaining a busy law and trial practice.              However, because
 4   Plaintiff’s request is not well founded and unreasonably excessive in length, it should be denied.
 5                       MEMORANDUM OF POINTS AND AUTHORITIES
 6   I.      RELEVANT FACTS AND PROCEDURAL HISTORY
 7           On May 27, 2021, Defendant filed his Emergency Motion for Case Terminating Sanctions
 8   and to Disqualify Stovall & Associates (the “Sanctions Motion”) because Plaintiff and/or her
 9   counsel intentionally obtained stolen, privileged and confidential documents and have continued
10   to use those documents to prosecute her claims in this case.             ECF No. 112.       Defendant
11   contemporaneously filed his Motion to Seal certain portions of the Sanctions Motion and Exhibits
12   thereto because of the confidential nature of the documents at issue. ECF No. 113. Defendant
13   asked this Court to hear the Sanctions Motion on an emergency basis because several depositions
14   were scheduled to take place in the ensuing weeks, during which Defendant anticipated Plaintiff
15   would continue to use such ill-gotten documents. This Court declined to hear the Motion on
16   shortened time but stayed the subject depositions and initial expert disclosure deadline to allow
17   the matter to be briefed and heard in the ordinary course. Plaintiff’s Oppositions to both motions
18   were due June 10, 2021. On June 9, 2021, Plaintiff’s counsel emailed Defense Counsel requesting
19   an extension of time such that her Oppositions would be due in “mid-July 2021.” ECF No. 119
20   at Exhibit 2.
21           As the basis for Plaintiff’s purported need for seven weeks to file oppositions, which in
22   the ordinary course would be due in two weeks, counsel cited to his trial and vacation schedule
23   and the need to review the lengthy exhibits attached to the Sanctions Motion. Id. In particular,
24   Plaintiff’s lead attorney, Leslie Stovall, was assisting his associate with preparing for a trial in the
25   matter of set to begin on June 7, 2021, but which had settled on June 4, 2021 – six days prior to
26   the deadline for Plaintiff’s oppositions in this case. Mr. Stovall further indicated he had a family
27   vacation scheduled for June 11 to June 21, 2021, which he stated had been booked prior to the
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 1   filing of Defendants’ Motions [May 27, 2021]. Id.1 Notably, the trial Mr. Stovall was preparing
 2   for was set to last two weeks, that is from June 7, 2021 to June 18, 2021. See ECF No. 115,
 3   Declaration of Ross Moynihan, Esq., at paragraph 8.2 Apparently, Mr. Stovall booked his
 4   vacation out of state during a week in which he anticipated being in trial.
 5            In response to Plaintiff’s request, Defense Counsel noted Plaintiff was requesting an
 6   additional twenty-five days after returning from vacation to oppose the subject Motions, for a
 7   total of seven weeks from the time the Motions had been filed. Defendant also pointed out the
 8   exhibits attached to the Sanctions Motion were documents produced either by Plaintiff in this
 9   case, or the Las Vegas Metropolitan Police Department (“LVMPD”). Indeed, on May 3, 2021,
10   when Plaintiff requested the deposition of mediator Joe Bongiovi be continued, her counsel cited
11   the need to review the LVMPD file in order to identify the documents to be used at the deposition.
12   See Email String attached hereto as Exhibit A. The LVMPD file was produced on April 30, 2021,
13   and consists largely of Plaintiff’s own voluntary statements and the Football Leaks documents,
14   which she provided to law enforcement. See ECF No. 113 at Exhibit C. At a minimum, Plaintiff’s
15   counsel had nearly a month to review the LVMPD file, which is the most voluminous exhibit to
16   the Sanctions Motion, followed by Plaintiff’s own Rule 16.1 disclosures. See generally id.at
17   Exhibits C, D and P.
18            Given these circumstances, the length of extension Plaintiff requested was unreasonable
19   and not well-founded. Nevertheless, Defense Counsel indicated they would be happy to consider
20   a more reasonable time frame and suggested a meet and confer to that end. ECF No. 119 at
21   Exhibit 2. Plaintiff never responded to Defense Counsel’s suggestion and instead filed the instant
22   Motion requesting an extension of time to July 20, 2021. Plaintiff is now requesting thirty-one
23   days from the end of counsel’s vacation, which would ultimately mean Plaintiff would have had
24
25   1
        Plaintiff’s Motion varies slightly, stating the family vacation is slightly shorter and scheduled for June 12
     through June 19, 2021. ECF No. 119 at 3:14-16.
26   2
        Defendant had previously afforded Plaintiff with extensions of the time to respond to Defendant’s discovery. On
     the due date, Plaintiff’s counsel conferred with the Defense and stated the responses would be electronically served
27   that evening. Without having sought any additional extensions or attempting to meet and confer, Plaintiff filed a
     motion for a thirty-day extension of the response deadlines. Only after Defense counsel expended time and
28   resources to file a limited opposition, Plaintiff then served the responses on June 8, 2021.



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 1   nearly eight weeks to oppose the subject Motions. In the interim, several key depositions and the
 2   initial expert disclosure deadline have been stayed. However, all other deadlines stand.
 3          Plaintiff’s Motion for Extension is silent as to the impact it may have on outstanding
 4   discovery, but this Court will recall Plaintiff previously refused to agree to extend discovery
 5   despite having received several extensions of various other deadlines. Thus, Defendant was
 6   forced to file a motion to extend discovery, which this Court ultimately granted. ECF No. 99.
 7   Before filing the Sanctions Motion, Defendant requested that Plaintiff agree to extend discovery
 8   deadlines to allow the matter to be heard in the ordinary course and to avoid having to seek
 9   emergency relief from the Court. See Email Correspondence attached hereto as Exhibit B. True
10   to form, Plaintiff’s counsel ignored the request. Despite Plaintiff’s repeated refusal to entertain
11   any good faith compromise, Plaintiff now boldly requests that this Court afford her counsel forty
12   additional days to oppose the two subject Motions.
13   II.    LEGAL ARGUMENT
14          FRCP 6(b) requires Plaintiff to show good cause for the extension of time to oppose the
15   subject Motions. Defendant was amenable to agreeing to a reasonable extension, but Plaintiff
16   rejected that concession by ignoring Defense Counsel’s suggestion and filing the instant motion.
17   Such conduct is only the most recent example of Plaintiff ignoring this Court’s repeated
18   admonitions to work in good faith with opposing counsel to avoid having to seek court
19   intervention. Plaintiff’s litigation conduct in this case leaves behind a lengthy trail of wasted time
20   and resources. To be clear, in more than two and half years of litigating this case, Plaintiff has
21   not once timely opposed a single motion without obtaining one, or often times, more extensions.
22   More than once, Plaintiff has sought extensions of the deadlines for opposing a motion or seeking
23   review of an order, only to never file anything at all. See ECF No. 119 at pp. 5-6.
24          Here, Plaintiff fails to show good cause for counsel’s purported need for nearly eight
25   weeks from filing to oppose the subject Motions. Although counsel states he was preparing for
26   trial, that case settled approximately six days before the original opposition deadlines. Moreover,
27   Plaintiff’s counsel apparently booked a vacation during the second week of the same trial that
28   diverted his time and attention from being able to timely oppose the subject Motions. Plaintiff


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 1   fails to offer any explanation for the need to have more than 40 days from the end of his vacation
 2   to prepare the necessary oppositions.
 3          Although Plaintiff’s Motion to Extend makes reference to a trial set to begin on July 19,
 4   2021, Plaintiff curiously asks the Court to give her until July 20, 2021 to file the opposition – a
 5   date on which counsel indicates he anticipates being in trial. Moreover, the exhibits attached to
 6   the Sanctions Motion, consist largely of documents Plaintiff has possessed for years but in any
 7   event, were disclosed in this litigation by April 30, 2021, at the latest. Thus, any concern over
 8   the time required to review such documents is at best, misplaced and at worst, disingenuous.
 9          Lastly, despite refusing to extend discovery, Plaintiff fails entirely to address how the
10   requested extension will impact the existing deadlines as well as those that have been stayed.
11   Because Plaintiff has not shown good cause for the extension and ignores the effect on the existing
12   scheduling orders, Plaintiff’s Motions to Extend should be denied.
13   III.   CONCLUSION
14          In light of the foregoing, Defendant respectfully requests that this Court enter an order
15   denying Plaintiff’s Motion to Extend Time to Respond to Defendant’s Motion for Terminating
16   Sanctions [ECF No. 119] and Plaintiff’s Motion to Extend Time to Respond to Defendant’s
17   Motion to Seal [ECF No. 118].
18          Dated this 24th day of June, 2021.
19                                                   CHRISTIANSEN TRIAL LAWYERS
20
                                                      By_____________________________
21                                                      PETER S. CHRISTIANSEN, ESQ.
                                                        KENDELEE L. WORKS, ESQ.
22                                                      KEELY A. PERDUE, ESQ.
                                                        Attorneys for Defendant Cristiano Ronaldo
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                                     CERTIFICATE OF SERVICE
 1
            Pursuant to FRCP 5 and LR-5.1, I certify that I am an employee of CHRISTIANSEN
 2
     TRIAL LAWYERS, and that on this 24th day of June, 2021, I caused the foregoing document
 3
     entitled DEFENDANT’S COMBINED OPPOSITION TO PLAINTIFF’S MOTION TO
 4
     EXTEND TIME TO RESPOND TO DEFENDANT’S MOTION FOR TERMINATING
 5
     SANCTIONS AND TO PLAINTIFF’S MOTION TO EXTEND TIME TO RESPOND TO
 6
     DEFENDANT’S MOTION TO SEAL to be filed and served via the Court’s CM/ECF electronic
 7
     filing system upon all registered parties and their counsel.
 8
 9
10
11                                          An employee of Christiansen Trial Lawyers

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     Exhibit “A”




     Exhibit “A”
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      Exhibit “B”




      Exhibit “B”
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From: Kendelee Works <kworks@christiansenlaw.com>
Subject: Fwd: CR adv Mayorga: LVMPD file
Date: May 27, 2021 at 3:32:11 PM PDT
To: Les Stovall <les@lesstovall.com>, Ross Moynihan <ross@lesstovall.com>
Cc: "Peter S. Christiansen" <pete@christiansenlaw.com>, Jonathan Crain
<jcrain@christiansenlaw.com>, Keely Perdue <keely@christiansenlaw.com>

Les/Ross

It was my understanding that Les was available for the meet and confer today at 2:30 but
has since been delayed. I left my cell number with your office but have not yet heard from
Les. During my meet and confer yesterday with Ross regarding the request for an extension
of the time to respond to our written discovery requests, I inquired as to whether he was
familiar with the issues in the May 25 letter, which is referenced below. He responded that
he is not familiar with the issues. Thus, I would need to speak with Les.

I am available anytime between now and 5 p.m. today. I am informed you are out of the
office tomorrow and will not return until Tuesday. In light of that, my attempts to reach you
regarding these issues, our May 17, 2021 meet and confer, and the timing of the upcoming
depositions and discovery deadlines, if I have not heard from you, we will file our motion
today at 5:30 and request that it be heard on an emergency basis.

Kendelee


Begin forwarded message:

From: Kendelee Works <kworks@christiansenlaw.com>
Subject: Re: CR adv Mayorga: LVMPD file
Date: May 26, 2021 at 6:04:55 PM PDT
To: Les Stovall <les@lesstovall.com>, Ross Moynihan <ross@lesstovall.com>, Maria
Hernandez <maria@lesstovall.com>
Cc: "Peter S. Christiansen" <pete@christiansenlaw.com>, Keely Perdue
<keely@christiansenlaw.com>, Jonathan Crain <jcrain@christiansenlaw.com>


Les,

We note you have not directly responded to the email below. However, in light of your
correspondence yesterday, it is evident that either Plaintiff and/or your office provided
LVMPD with the documents identified as CR-000926-CR-001510. The fact that documents
CR-001188-CR-001510 have never been disclosed by Plaintiff in this litigation, coupled with
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the additional representations contained in yesterday’s letter, leaves Defendant no choice
but to move for case terminating sanctions and your firm’s disqualification from continuing
to represent Plaintiff in this case.

If you will not agree to further extend discovery so that the Court may rule on this motion
prior to the Bongiovi and Tramel depositions, we will be forced to file the motion for
dismissal and disqualification on an emergency basis so that we may obtain a ruling before
proceeding with the upcoming depositions. Please let us know your position and when you
are available for a meet and confer. I can be available this evening or any time tomorrow at
your convenience.

Thanks,
Kendelee


On May 23, 2021, at 11:26 AM, Kendelee Works <kworks@christiansenlaw.com> wrote:

Les/Ross,

Within the LVMPD file, which we obtained via subpoena, designated as “confidential" and
then produced within our Second Supplemental Disclosure of Documents on April 30, 2021,
there are what appear to be Football Leaks documents starting with Bates No CR-000926
through CR-001510. With the exception of CR-001009 through CR- 001011, which is a letter
from you to Sgt. Comiskey, can you please confirm that Documents CR-000926 through CR-
001510, are documents you and/or Plaintiff (or anyone acting on her behalf), obtained from
Football Leaks and provided to LVMPD? Your response by close of business this Tuesday,
May 25, 2021, is requested and would be appreciated.


Thank you,

Kendelee L. Works, Esq.,
Christiansen Trial Lawyers
710 S. 7th Street
Las Vegas, NV 89101
(702) 240-7979
